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AQ 91 (Rev, II/[1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

United States of America )
v. )
Case No.
DEEPAK DESHPANDE )
) eam / IRS, Zs
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of — July 2017 through May 12,2018 inthe county of Orange in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 2422(b) Knowingly persuading, inducing or enticing, and knowingly attempting to

persuade, induce, or entice, a minor into engaging in sexual activity for which
the defendant could be charged with a criminal offense.

This criminal complaint is based on these facts:

See attached Affidavit.

#f Continued on the attached sheet. y=

Complainant's signature

RODNEY J. HYRE, Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date: ‘ 5 /, oO / So
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City and state: Orlando, Florida GREGORY J. KELLY, US. Magistrate Judge

 

Printed name and title

 
 

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STATE OF FLORIDA CASE NO. 6:18-1j-
COUNTY OF ORANGE
AFFIDAVIT

I, Rodney J. Hyre, after being duly sworn, depose and state:

1. For the past 16 years, I have been employed as a Special Agent
with tle Federal Bureau of Investigation (FBI). I currently serve as the
coordinator for the FBI Crimes Against Children/Innocent Images Unit in
Orlando, Florida. As the coordinator for the FBI Innocent Images Task Force,
my responsibilities include investigating possible criminal violations of Title 18
of the United States Code.

2. I have received specialized training in the investigations of sex
crimes, child exploitation, child pornography, and computer crimes. I have
participated in investigations of persons suspected of violating federal child
pornography laws, including 18 U.S.C. §§ 2251 and 2252A. I have also
participated in investigations of persons suspected of violating federal laws
pertaining to the enticement of minors under 18 U.S.C. § 2422(b).

3. I have participated in various training courses for the
investigation and enforcement of federal child pornography laws in which
computers are used as the means for producing, receiving, transmitting, and

storing child pornography. Additionally, I have been involved in authoring

 
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and have participated in the execution of search warrants involving searches
and seizures of computers, computer equipment, software, and electronically
stored information.

4, This affidavit is submitted in support of a criminal complaint
against DEEPAK DESHPANDE for a violation of 18 U.S.C. § 2422(b). As
set forth in more detail below, I believe there is probable cause that
DESHPANDE, using a facility and means of interstate commerce, that is, the
Internet and a cell phone, did knowingly persuade, induce, and entice, and
knowingly attempt to persuade, induce, and entice, an individual who had not
attained the age of 18 years to engage in sexual activity for which any person
could be charged with a criminal offense under Florida law, that is, Unlawful
Sexual Activity with Certain Minors, a violation of Florida Statute Section
794.05; all in violation of 18 U.S.C. § 2422(b).

5. Title 18, United States Code, Section 2422(b) prohibits a person
from using a means or facility of interstate commerce to knowingly persuade,
induce, and entice, or knowingly attempt to persuade, induce, and entice, an
individual who had not attained the age of 18 years to engage in sexual
activity for which any person could be charged with a criminal offense.

6. Florida Statute Section 794.05 prohibits a person 24 years of age

or older to engage in sexual activity with a person 16 or 17 years of age.

 
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7. I make this affidavit from personal knowledge based on my
participation in this investigation, information from other criminal
investigators, information from law enforcement officers, information from
agency reports, and review of documents provided to me by witnesses and law
enforcement officers. Because this affidavit is being submitted for the limited
purpose of establishing probable cause in support of a criminal complaint, I
have not set forth each and every fact learned during the course of this
investigation.

INVESTIGATION

8. The FBI received an anonymous tip from the public access line in
March 2018. The tip concerned a 16-year-old girl whose name is known, but
will be referred to as “CV” in this affidavit. At all relevant times, CV resided
in Orlando, Florida. The tip stated that CV was being blackmailed into
producing child pornography for multiple adult males via the internet. This
investigation has revealed that is highly likely that DESHPANDE portrayed
himself as each of those adult males.

Summary

9, On May 2, 2018, CV was interviewed by the FBI in Orlando,

Florida. In summary, CV told the FBI that at some point in 2017, she posted

an advertisement online seeking a modeling opportunity. Beginning in or

 
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about July 2017, a man who identified himself as “Devin” contacted CV in
response to her advertisement, via an internet messaging application. CV
began communicating regularly with Devin, and he eventually convinced her
to send nude images of herself to him via the internet, which she did on
multiple occasions. Devin and CV stopped communicating after
approximately two months.

10. Atsome point after her initial contact with Devin, CV posted
another advertisement online seeking a modeling opportunity. Someone who
identified himself as “Nick Cuban” contacted CV via the same internet
messaging application. Nick claimed to know of Devin and vetted Devin’s
credentials as a modeling producer. Nick, too, convinced CV to send nude

| images of herself to him via the internet, which she did on multiple occasions.
In or about September 2017, Nick traveled to Orlando, Florida, to meet CV in
person and to record videos of himself sexually assaulting her. He made
similar trips and engaged in similar conduct approximately four additional
times between September 2017 and April 2018.

11. Atsome point after CV’s initial contact with Nick, CV posted yet
another advertisement online seeking a modeling opportunity. Someone who
identified himself as “Roger” contacted CV via the internet. Roger, too,

convinced CV to send nude images of herself to him via the internet, which

 
 

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she did on multiple occasions. Roger also threatened to disseminate the nude
images of CV over the “dark web” if she did not continue to produce nude
images of herself and send the images to him.

12. CV has exchanged extensive text-based messages via the internet
with Devin, Nick, and Roger. In addition, CV has spoken on the phone with
Nick on multiple occasions. She has also spoken on the phone with either
Roger or Devin; she cannot recall which one she spoke with. Based on the
similarities of their voices—which she described as “nasally”—and similarities
in their text-based messages via the internet, CV believes that Devin, Nick,
and Roger, are all the same individual.

Details of the Investigation

13. When Devin first contacted CV in or about July 2017, CV told
Devin she was 16 years old. Devin portrayed himself as someone associated
with a modeling agency who could hire CV and pay her to model. Devin
instructed CV to send “sexy” pictures to him and told her that these pictures
would be rated. Devin eventually asked for “full body nudes” and instructed
CV to take pictures of herself while inserting a finger into her vagina and anus.
CV complied and created a MEGA cloud storage account for the purpose of
sending the nude photos to Devin. MEGA allows multiple users to access a

single account, as long as each user has the relevant password. CV stated that

 
 

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Devin knew the password to her MEGA account because she gave it to him.
CV's contact with Devin continued for approximately two months.

14. CV was then contacted by “Nick Cuban.” CV told Nick she was
16 years old. Nick convinced CV to pose for him and send him full-body nude
pictures of herself via the internet. At one point, Nick told CV that she
should make a “sex tape.”

15. Inor about September 2017, Nick flew to Orlando, Florida, and
made arrangements to pick up CV and take her to a Hilton hotel. Nick picked
up CV close to her house and drove her to the hotel. Nick gave CV alcohol in
the hotel room and instructed her to get into the shower. CV recalled that
Nick had what appeared to be professional video camera equipment as well as
several cameras with detachable lenses. Nick videotaped CV taking a shower
and instructed her to act surprised that she was being recorded. After the
shower, Nick continued to videotape CV as he sexually assaulted her. CV
stated that Nick began by performing oral sex on her, then he penetrated her
vagina with his penis. Nick instructed CV to act like she enjoyed having sex
with him. CV also recalled that they had sex with the lights on because Nick
was videotaping.

16. CV stated that between September 2017 and April 2018, Nick

traveled to Orlando, Florida, another four times to meet her. Each time, he

 
 

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picked her up and drove her to a hotel. At the hotel, Nick recorded himself
sexually assaulting CV. CV recalled that Nick had multiple still cameras and
at least three smart phones with him, and he used those devices to record the
sex acts. Nick also sometimes gave CV a modest amount of cash, or put
money on an American Express prepaid debit card, which CV has turned over
to law enforcement. On at least one occasion, Nick brought cannabis drops
and instructed CV to put four or five drops on her tongue in order to relax her

prior to having sex.

17. The last time Nick flew to Orlando, Florida, and met with CV
was over the weekend of March 30 through April 1, 2018. That time, Nick

took CV to a Sheraton Suites located in Orlando, Florida.

18. On May 2, 2018, FBI agents accompanied CV to the Sheraton
Suites and she identified it as the hotel that Nick had taken her to. CV identified

Room #129 as the one in which she and Nick stayed. Subsequently, Sheraton

Suites confirmed that a person named DEEPAK DESHPANDE had checked
into Room #129 on March 30, 2018, and checked out on April 1, 2018. In
addition, Sheraton Suites obtained surveillance photographs from April 1, 2018,

showing CV with the individual later identified as DESHPANDE at the hotel.

19. CValso stated that Nick sent CV a smartphone so that she could

 
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communicate with him and use the phone to make nude images and videos
for him. Nick sent the phone to CV via FedEx. CV had saved the envelope

| and provided it to law enforcement. The return address on the FedEx
envelope read “Nick Cuban, 7097 Syrah Dr., Dublin, Ca. 94568, (408) 649-
4154.” The FBI searched records databases to identify possible residents at
that location, and obtained photographs of each of those individuals. One of
the possible residents was named DEEPAK DESHPANDE. His California
driver’s license indicates that he is 5 feet, 6 inches tall, with black hair and
black eyes, pierced ears, and a dotted scar by his eyebrow. It also indicates

that he is 40 years old.

20. The FBI had previously asked CV to provide a physical
description of Nick. CV described him as approximately 5 feet, 5 inches tall,
with black hair, brown eyes, a possibly Indian background, slim arms and
frame, a “beer belly,” with both ears pierced, a sleeve of tattoos on his arm, an
uncircumcised penis, and dotted scars by his eyebrow. FBI agents showed CV
DESHPANDE’S California driver's license picture and she positively

identified him as the person she knew as Nick Cuban.

21. The FBI then verified that DESHPANDE’S California driver’s
license listed a home address of 7097 Syrah Dr., Dublin, California 94568. An
additional database check showed that on April 16, 2018, DESHPANDE

 
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identified the same home address in an accident report.

22. The FBI has obtained travel records from United Airlines
showing that DESHPANDE traveled to Orlando, Florida, from San

Francisco, California, on March 30, 2018.

23. The FBI has also conducted a preliminary examination of the
smartphone that Nick sent to CV. The examination confirms that CV used
various internet applications to communicate with persons named Devin,
Nick, and Roger. In addition, the FBI located highly explicit sexual
conversations between CV and Nick. Such conversations include a discussion
that occurred on February 19, 2018, in which Nick referenced a prior sexual
encounter with CV. In addition, the conversations contain child pornography
produced by CV, including images of CV’s vagina, which CV sent via the
internet to Nick. The FBI also located a conversation in which CV told Nick

that she was 16 years old.

24. On May 7, 2018, CV called the FBI and stated that
DESHPANDE (again posing as Nick) had attempted to reach out to CV via
Google Hangouts, a text-based application. The FBI instructed CV to tell
DESHPANDE that CV’s mother had taken all of her electronic media away

because she had gotten in trouble at school.

 
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25. Then, at approximately 9:02 p.m., FBI Special Agent (SA) Kevin
Kaufman, acting in an undercover capacity and posing as CV (the UC), sent a
message to DESHPANDE, asking, “you there.” DESHPANDE replied and
the UC proceeded to exchange a series of communications via Google
Hangouts with DESHPANDE for the next hour.

26. During that conversation, DESHPANDE claimed that he was
“on verge of collapse” and “on verge of being broke” because Roger
purportedly “put me in a situation either I go broke and get ruined or fix
things and live.” DESHPANDE also claimed that “[a]il my chats have been
posted everywhere” and “[i]f I don’t get what’s needed it will be open to
public.” The UC then asked, “What is needed??” DESHPANDE replied, “T
need one and half day dude. Just one and half day to fix everything[.] You
have no clue what went down here.”

27. DESHPANDE went on to tell the UC that he had been robbed
and extorted, and “I have never asked anyone for help and now I am begging
for help.” The UC asked, “How can I help you?” DESHPANDE replied, “T
just need a half day and night to get over this[.] How can we do this.”
DESHPANDE further stated that he had to “finish this before June 15th or he
[Roger] will post all of what’s remaining[.] He has posted everything of my

chats and your stuff online[.] It’s a mess out here[.] I can’t explain because it’s

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all under my name :(.”

28. The UC responded, “What should we do??? What does he want
so he does not do it?” DESHPANDE responded, “I have a plan that I set out
with and I need your help. I just need a halfa day and night to get what's
needed.” The UC responded “Ok...what do I need to do??” DESHPANDE
replied, “I will end this once and for all[.] We have to meet up.”
DESHPANDE said, “Even a few hours will give me an edge. . . idk [I don’t
know] how to explain you :( but I need you man seriously.”

29. The UC expressed doubt and hesitation about helping
DESHPANDE, saying that she was “worried you would be using me.”
DESHPANDE continued to express desperation because he was being
extorted, and continued to urge the UC to “Help me get half a day and a night
just like old times sake.”

30. Finally, the UC relented, and asked when the UC would have to
meet with DESHPANDE. The UC claimed that the UC would be
unavailable due to family travel later in the month, so DESHPANDE would
have to come the coming weekend. DESHPANDE then confirmed that he
would do so.

31. SA Kaufman contacted CV and asked CV what DESHPANDE

meant by needing “half a day and a night.” CV stated that she interpreted that

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to mean that DESHPANDE wanted to travel to Florida in order to produce
more sex videos.

32. On May 8, 2018, the UC continued chatting with
DESHPANDE. During the conversation, DESHPANDE asked the UC to
confirm that the UC was available if DESHPANDE traveled to see the UC
during the coming weekend. DESHPANDE told the UC, “T will try to be
there by either Friday and Sat or sat and Sunday[.] If I am over there by
Friday we can do Friday night and sat.”

33. When the UC asked DESHPANDE what the plan was,
DESHPANDE responded, “I want to cover as much on the video and some
good shots to finish this for evenness[.] As much clothing and outfits you can.
get is good for me.” The UC responded, “LOL. Any suggestions??”
DESHPANDE replied, “Get all your lingeries hun And all the outfits we shot

on before as well Rn [right now] I have zero material to produce It’s like

starting from zero.” The UC responded, “MK [okay]. How many hours we
looking at??” DESHPANDE responded, “As much as you can. This will be
the last tape you will do. Hoping we cover the hours for me to edit.”

34, The UC then asked, “What should I expect from these??” and
explained that the UC felt used. DESHPANDE responded, “This weekend

will be full of fun you don’t have to worry about it at all[.] Will make sure you

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are treated like princes.” The UC and DESHPANDE subsequently made
arrangements for CV (not the UC) to speak with DESHPANDE on May 9,
2018, after school.

35. On May 9, 2018, at 2:31 p.m., CV texted DESHPANDE, “I am
with my friend ready to call ya.” DESHPANDE immediately responded,
“Okay. Call up.” CV then called DESHPANDE on telephone number (929)
352-7040. CV consented to the FBI’s recording of the call. The call was
approximately ten minutes long.

36. During the telephone conversation, DESHPANDE (posing as
Nick) asked CV about why she had left a Kik chat group that CV, Nick, and
Roger apparently had been a part of before. CV explained that Nick himself
had left the chat group, and “he” (meaning Roger) had persistently threatened
CV, so she got tired of it and left the group. DESHPANDE claimed that
Roger had leaked onto the internet pictures depicting CV with
DESHPANDE, and that DESHPANDE was in a lot of trouble.
DESHPANDE expressed frustration over his situation and stated, “I either
fixing this or Jam going under water. That’s the situation I am in right now.”

37. CV asked, “So, you're coming this weekend?” and
DESHPANDE responded, “Yes Iam.” DESHPANDE explained that he had

something planned and he knew what he was doing this time. DESHPANDE

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continued, “So... help me out this time. Fix me up. .. . Let’s do it.”

38. CV asked DESHPANDE what his plan was. DESHPANDE
explained that he was going to meet Roger and negotiate to convince Roger to
“pull all the stuff off.” DESHPANDE claimed that there was a lot of
background about the situation that he could not even speak to CV about over
the telephone, that Roger had done some terrible things, and that
DESHPANDE needed to fix it. DESHPANDE claimed that Roger had
“fucking leaked out so much shit about you and me,” and that Roger had
given him a deadline so that “either I fix this or he will put the rest of the stuff
out.”

39. CV asked DESHPANDE to clarify when he was coming, and
what they would do. DESHPANDE responded, “Like we'll do the pictures
and the videos, set it up, I’ll...and I'll fly back to New York.” DESHPANDE
then insinuated that he would confront Roger and harm him, saying, “I am
not going to tell you what exactly what I am going to do to him cause he has
to go.... He cannot exist. I mean, if things get out I’m in a big trouble, dude.
And so are you.” CV then asked why she would be in trouble, and
DESHPANDE reiterated that Roger would post—and had already posted—
pictures of DESHPANDE and CV.

40. As the conversations continued, CV asked DESHPANDE if he

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planned on using contraceptive protection when they filmed the videos over
the weekend. DESHPANDE stated he did not know yet, and vaguely stated
that he was just trying to get the videos done.

41. CVasked DESHPANDE if the two of them were going to have
to engage in anal intercourse when filming the videos. DESHPANDE replied
“No, let’s not do that. I just need some...” At that point, DESHPANDE
abruptly switched topics and told CV that he had recently been robbed of his
cellular telephone and that the people who robbed him gave him a piece of
paper that read, “Fuck the teeny.” DESHPANDE broke down crying, and
CV ended the call, stating that she had to return the phone that she had
borrowed to make the call.

42. On the evening of May 9, 2018, the UC and DESHPANDE
conversed via Google Hangout again. During the chat, DESHPANDE asked
the UC to confirm that the UC was available the coming weekend. The UC
responded that the UC was available and that the UC was worried about
getting pregnant and “those pitls make me sick.” DESHPANDE responded,
“You won't be I will take care of the rest[.] I need you.”

43, Later in the conversation, the UC again reiterated, “But seriously
I don’t like those pills. What will we use? I would get in trouble if I got

pregnant.” DESHPANDE responded, “You won’t. I am prepped up[.]

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There is no chance for that[.] I want this exactly look alike of the past. I get
this done and you won’t have to deal with this mess anymore[.] It’s personal
this time. I need you to be the same as you were before[.] Don’t change
anything or any act of this time.” The UC responded, “OK but we didn’t use
condoms before. How won’t I get pregnant. [am NOT doing anal :(.”
DESHPANDE replied, “You don’t have to do anal[.] I just want to get what
we got last time[.] Last time we missed a few hours here n there because we
were glued tight[.] This fine we won’t miss any[.] We will cover most of it
and pretend we did it all[.] I need your cooperation hun.”

44, The UC asked DESHPANDE when he planned to travel to meet
the UC. DESHPANDE informed the UC that he would most likely arrive on
Friday evening. Later, the UC asked DESHPANDE to describe “what are
first session will be. Love to visualize it.” DESHPANDE responded, “Do

you want me to go slow Or go down in direct.” UC responded, “Direct!!!”

and DESHPANDE replied, “Like push you down and have my way inside.”
The UC then reiterated, “As long as I don’t get pregnant lol” and
DESHPANDE responded, “You won’t.”

45. On May 12, 2018, at approximately 7:35 a.m., your affiant and
SA Kaufman observed DEEPAK DESHPANDE exiting the jetway at Gate

46 in the Orlando International Airport (OIA), Concourse B. DESHPANDE

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was exiting United Airlines Flight 2236 from San Francisco, California. Your
affiant and SA Kaufman recognized DESHPANDE from his California
driver’s license photo. On his back, DESHPANDE was carrying a backpack
that had a red neck pillow attached to it. DESHPANDE was also pulling a
rolling piece of luggage behind him. The items were the same as those
observed in the surveillance images depicting DESHPANDE at the Sheraton
Hotel in Orlando, Florida, on April 1, 2018.

46. AsDESHPANDE was exiting the security area of the airport,
your affiant and SA Kaufman stopped him and identified themselves. The
agents then escorted DESHPANDE to an interview room in the Orlando
Police Department office at OIA. He identified himself as DEEPAK
DESHPANDE, and provided his Dublin, California, home address and Social
Security number. After being advised of his Miranda rights, DESHPANDE
acknowledged that he worked in technology in California for a company
named Illumio. DESHPANDE also stated that he knew why he was being
interviewed. DESHPANDE said that there were other persons involved, but
that the name “Roger” was not correct. He then invoked his right to an
attorney. All questioning ceased and the interview was concluded at 7:50 a.m.

47, DESHPANDE was then transported to the Seminole County Jail

in Sanford, Florida. DESHPANDE’s property was inventoried as he

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witnessed at the Seminole County Jail.

48.
iPhones:
a.
b.
C.
d.

49,

On his person, the agents recovered, among other things, four

Black iPhone X;

White iPhone X;

iPhone SE - IMEI 355800079265660; and
Black iPhone Plus — IMEI 866265036974592.

In DESHPANDE'’s Splunk brand backpack, the agents

recovered, among other things:

a.

b.

50.

other things:

Canon video camera — Vixia HSX200;
Nikon D810 still camera;

Lumix DMC-GH4 still camera; and

Macbook Pro, serial no. COAKGONUFFTS3.

In DESHPANDE’s rolling luggage, agents recovered, among

Florida and California driver’s licenses;

iPhone Silver, model A1660;

San Disk 32GB compact flash card. with reader;
two vapes;

Vidalista tablets (male sexual performance enhancement tablet);

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f. handcuffs;

g. dildo;

h. blindfold mask;
i. sexual lubricant;
j. aftershave; and

k. camera stand.

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CONCLUSION
51. I believe there is probable cause that DESHPANDE, using a

facility and means of interstate commerce, that is, the Internet and a cell
phone, did knowingly persuade, induce, and entice, and knowingly attempt to
persuade, induce, and entice, an individual who had not attained the age of 18
years to engage in sexual activity for which any person could be charged with
a criminal offense under Florida law, that is, Unlawful Sexual Activity with

Certain Minors, a violation of Florida Statute Section 794.05; all in violation

fou ify

Rodney J. Hyre, Special Agent
Federal Bureau of Investigation

of 18 U.S.C. § 2422(b).

 

Sworn and subscribed before me
day of A 2018.
GREGORY J

United States Magist te Judge

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